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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA                          SEE AMENDED ORDER
                                 FORT WAYNE DIVISION                               (DOCKET ENTRY 139)
                                                                                   REGARDING ADDITIONAL
                                                                                   LANGUAGE AT PAGE 27 OF
R. DAVID BOYER, TRUSTEE                        )                                   THIS ORDER
                                               )
                        Plaintiff,             )
                                               )
        v.                                     )          CAUSE NO. 1:05-CV-129-TS
                                               )
CHRISTOPHER GILDEA et. al,                     )
                                               )
                        Defendants.            )

                                              OPINION

        On October 5, 2006, this Court entered its Opinion and Order dismissing three counts

filed by the Plaintiff, Trustee David Boyer, against the Defendants Katherine Gildea, Michael

Motter, Matt Mercer, Anita Gildea, Arlington Capital LLC, GT Acquisition LLC, GT

Enterprises LLC, and Gildea & Gorman LLC. On October 16, 2006, the Trustee filed motion to

reconsider. Having carefully examined the parties’ briefings and upon reconsideration of the

evidence before it, the Court sees no good reason to alter its decision to dismiss the Trustee’s

Counts III and IV. However, the Court finds that the Trustee has presented sufficient evidence to

create a triable issue of fact on Count V as to whether the Defendants entered an agreement with

the intent to control the price at auction.

        The Trustee’s Counts I and II remained pending against Chris Gildea and Gasson LLC

after the Court’s October 5, 2006, Opinion and Order. Count I states a claim against Chris Gildea

to avoid a transfer of $170,000 made from the bankruptcy debtor to Chris Gildea. The Court

found that there was a issue of fact as to whether the transfer occurred, and denied the motion for

summary judgment on Count I. Count II also states a claim against Chris Gildea to avoid a

transfer of funds from the bankruptcy debtor to Chris Gildea. Because Gildea submitted

additional evidence with his reply, the Court allowed the Trustee to file a surresponse. For the

reasons stated below, the Court finds that there is an issue of fact as to whether the transfer of
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funds from the debtor to Chris Gildea was in the ordinary course of business.



A.     Background

       This case arose out of the bankruptcy of GT Automation Inc. (the Debtor). Steven Gildea

was the president of the Debtor and sole equity owner. Defendant Anita Gildea is Steven

Gildea’s wife. Steven and Anita Gildea were the sole directors of the Debtor. Defendant Chris

Gildea, Steve Gildea’s son, was an officer of the Debtor. Chris Gildea also owned Defendant

Gasson, LLC, which leased equipment to the Debtor. Defendant Katherine Gildea is Chris

Gildea’s spouse.

       The Debtor filed for bankruptcy on October 9, 2001, and the bankruptcy court allowed

the Debtor to continue operating as a debtor-in-possession. Comerica was the Debtor’s largest

secured creditor and held a first priority security interest and lien on all of its assets. Comerica

filed a proof of claim in the bankruptcy proceedings for $7,818,406.10.

       In February 2003, the Debtor moved for an order authorizing an auction of the Debtor’s

assets. A group including Gildea family members and officers of the Debtor sought to purchase

the Debtor’s assets (the Gildea Group). The bankruptcy court issued an order allowing an

auction of the Debtor’s assets pursuant to 11 U.S.C. § 363, subject to conditions agreed to by the

Debtor and its creditors.

        The auction for the Debtor’s assets was held on April 3, 2003. Defendant GTA

Acquisition LLC, submitted a bid of $2,725,000, which was the highest bid. The only other bid

was a credit bid submitted by Comerica. GTA Acquisition was an entity created by Defendant

Arlington Capital on about April 1, 2003, for the purpose of acquiring the Debtor’s assets.

Arlington also formed GTA Realty, LLC, for the purpose of taking title to the real estate. On

April 7, 2003, the bankruptcy court approved the sale of the Debtor’s assets to GTA Acquisition.

On April 16, 2003, an amended sale order was issued. There were no objections to the sale.

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          On April 7, 2003, GTA Acquisition was acquired by Defendant GT Enterprises, LLC,

(GT/E). GT/E was formed and is owned by Katherine Gildea, Mike Motter, and Matt Mercer.

Matt Mercer was a Vice President of the Debtor. Mike Motter was the Debtor’s accountant.

          This case was filed on April 7, 2004. The Trustee’s Complaint states claims against

Christopher Gildea, Katherine Gildea, Michael Motter, Matt Mercer, Anita Gildea, Arlington

Capital, LLC, GT Acquisition LLC, GT Enterprises, LLC, Gasson, LLC, and Gildea & Gorman,

LLC. An amended complaint was filed on October 18, 2004. The Amended Complaint lists eight

counts.

          The Court granted summary judgment to Arlington Capital on the Trustee’s state law

claims against it (Counts VI to VIII of the Amended Complaint) on October 17, 2005, finding

the bankruptcy court’s April 16, 2003, Amended Sale Order precluded such claims. The Court

stated that the state law claims could be brought only if the Amended Sale Order was set aside.

In response, the Trustee brought a separate case alleging fraud on the court and seeking to alter

the Amended Sale Order. (Boyer v. GT Acquisition, 1:06-CV-90, (N.D. Ind. filed March 22,

2006). The bankruptcy court declined, stating that granting the requested relief probably would

not remove the preclusive effect of the Amended Sale Order, and holding that a judgment that is

alleged to have been obtained by fraud on the court cannot be amended, it must be vacated. The

Trustee appealed, and this Court agreed with the bankruptcy court as stated in its Opinion and

Order of August 9, 2007.

          On October 5, 2006, the Court granted summary judgment on Counts III, IV, and V,

denied summary judgment on Count I, and withheld ruling on Count II pending further briefing.

Counts I and II sought to set aside transfers of Debtor funds to Chris Gildea, and Count III was

to set aside a transfer of Debtor funds to G&G. Count IV was a state law claim alleging that

Mike Motter and Chris Gildea breached their fiduciary duties to the Debtor. Count V alleged that

Arlington Capital, GT/E, Chris Gildea, Katherine Gildea, Mike Motter, and Matt Mercer

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colluded to control the price of the Debtor’s assets at the auction sale.

       On October 16, 2006, the Trustee filed a motion to alter judgment, arguing that the Court

erred in granting summary judgment on Counts III, IV, and V. On October 31, 2006, the

Defendants responded to the motion, and the Trustee replied on November 7, 2006.

       On October 19, 2006, the Trustee submitted its surresponse to Chris Gildea’s motion for

summary judgment on Count II.

        On October 31, 2006, Defendants moved for an entry of final judgment under Rule

54(b). The Trustee responded on November 15, 2006, and the Defendants replied on November

22, 2006.



A.     Trustee’s Count II

       Pursuant to 11 U.S.C. § 549, Count II of the Trustee’s Complaint seeks to avoid more

than $30,000 of the Debtor’s payments to Chris Gildea, which were allegedly made to reimburse

Gildea for ordinary business expenses of the Debtor. At issue is whether the payments were in

fact ordinary business expenses.



1.     Summary Judgment Standard

       The Federal Rules of Civil Procedure mandate that motions for summary judgment be

granted “if the pleadings, depositions, answers to interrogatories, and admissions on file,

together with the affidavits, if any, show that there is no genuine issue as to any material fact and

that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). “In

other words, the record must reveal that no reasonable jury could find for the nonmoving party.”

Dempsey v. Atchison, Topeka, & Santa Fe Ry. Co., 16 F.3d 832, 836 (7th Cir. 1994) (citations

and quotation marks omitted). After adequate time for discovery, summary judgment must be

given against a party “who fails to make a showing sufficient to establish the existence of an

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element essential to that party’s case, and on which that party will bear the burden of proof at

trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

       A party seeking summary judgment bears the initial responsibility of informing a court of

the basis for its motion and identifying those portions of the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, which it believes

demonstrate the absence of a genuine issue of material fact. Celotex, 477 U.S. at 323. The

moving party may discharge its “initial responsibility” by simply “‘showing’—that is, pointing

out to the district court—that there is an absence of evidence to support the non-moving party’s

case.” Id. at 325. When the non-moving party would have the burden of proof at trial, the

moving party is not required to support its motion with affidavits or other similar materials

negating the opponent’s claim. Id. at 323, 325; Green v. Whiteco Indus., Inc., 17 F.3d 199, 201

n.3 (7th Cir. 1994); Fitzpatrick v. Catholic Bishop of Chi., 916 F.2d 1254, 1256 (7th Cir. 1990).

However, the moving party may, if it chooses, support its motion for summary judgment with

affidavits or other materials and thereby shift to the non-moving party the burden of showing

that an issue of material fact exists. Kaszuk v. Bakery & Confectionery Union & Indus. Int’l

Pension Fund, 791 F.2d 548, 558 (7th Cir. 1986); Bowers v. DeVito, 686 F.2d 616, 617 (7th Cir.

1982); Faulkner v. Baldwin Piano & Organ Co., 561 F.2d 677, 683 (7th Cir. 1977).

       Once a properly supported motion for summary judgment is made, the non-moving party

cannot resist the motion and withstand summary judgment by merely resting on its pleadings.

Fed. R. Civ. P. 56(e); Donovan v. City of Milwaukee, 17 F.3d 944, 947 (7th Cir. 1994). Federal

Rule of Civil Procedure 56(e) establishes that “the adverse party’s response, by affidavits or as

otherwise provided in this rule, must set forth specific facts to establish that there is a genuine

issue for trial.” Fed. R. Civ. P. 56(e); see also Anderson v. Liberty Lobby, 477 U.S. 242, 248–50

(1986). Thus, to demonstrate a genuine issue of fact, the non-moving party must do more than

raise some metaphysical doubt as to the material facts. Matsushita Elec. Indus. Co. v. Zenith

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Radio Corp., 475 U.S. 574, 586 (1986); Juarez v. Ameritech Mobile Commc’ns, Inc., 957 F.2d

317, 322 (7th Cir. 1992). Only material facts will preclude summary judgment; irrelevant or

unnecessary facts do not preclude summary judgment even when they are in dispute. Anderson,

477 U.S. at 248–49. If there is no genuine issue of material fact, the only question is whether the

moving party is entitled to judgment as a matter of law. Miranda v. Wisc. Power & Light Co., 91

F.3d 1011, 1014 (7th Cir. 1996).

       In viewing the facts presented on a motion for summary judgment, a court must construe

all facts in a light most favorable to the non-moving party and draw all legitimate inferences and

resolve all doubts in favor of that party. NLFC, Inc. v. Devcom Mid-Am., Inc., 45 F.3d 231, 234

(7th Cir. 1995); Doe v. R.R. Donnelley & Sons Co., 42 F.3d 439, 443 (7th Cir. 1994); Beraha v.

Baxter Health Care Corp., 956 F.2d 1436, 1440 (7th Cir. 1992). A court’s role is not to evaluate

the weight of the evidence, to judge the credibility of witnesses, or to determine the truth of the

matter, but instead to determine whether there is a genuine issue of triable fact. Anderson, 477

U.S. at 249–50; Doe, 42 F.3d at 443.



2.     Facts Relevant to Count II

       Chris Gildea states that he used his credit card to charge and pay for necessary expenses

of the Debtor during the normal course of the Debtor’s business, and that these expenses were

routinely reimbursed by the Debtor. Gildea claims these reimbursements were fully disclosed in

the Debtor’s operating reports or bank statements, and were of the same type of expense the

Debtor routinely reimbursed for other employees. Gildea submitted the affidavit of Thomas

Norris, which states that the type of reimbursement challenged by the Trustee was routinely

given to the Debtor’s employees in the ordinary course of its business, and that the Debtor’s

records show no change in the amounts of such reimbursements after the Debtor petitioned for

bankruptcy.

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       The business records submitted with Norris’s affidavit show reimbursements made by the

Debtor from May 1998 to October 2001, the three years before the Debtor filed for bankruptcy,

and from October 2001 to April 2003, the year and a half following the bankruptcy filing.

During the first period, Chris Gildea received $37,265.04 in reimbursements, and in the second

period, he received $34,057.84 in reimbursements. The total amount of reimbursements paid by

the Debtor in the first period was $145,477.25, and the total in the second period was

$69,279.55. Norris states that the expenditures listed in the documents were for “expenses of the

Debtor that were ordinary in nature and type.” (Norris Aff. 2, DE 87.)

       The Trustee submitted the affidavit of Mark Werling, who represented Comerica, stating

that Werling received post-bankruptcy disbursement ledgers from the Debtor showing

reimbursements of over $30,000 for expenses paid by Gildea. Werling’s affidavit states that he

was told by Mike Motter in an e-mail that Gildea’s credit card was used when the Debtor did not

have otherwise available funds. The Trustee submits the Debtor’s ledger for the pre-bankruptcy

period as evidence that such payments to Gildea were not made prior to bankruptcy, suggesting

the post-bankruptcy payments were not part of the ordinary course of the Debtor’s business.



3.     Analysis

       Title 11 U.S.C. § 549 allows a bankruptcy trustee to avoid a transfer of property of the

bankruptcy estate if the following elements are met: 1) there is a transfer of property; 2) the

property transferred is that of the bankruptcy estate; 3) the transfer was made after the

commencement of the case; and 4) the transfer was not authorized by the Bankruptcy Code or by

the bankruptcy court. In re Blair, 330 B.R. 206, 213 (Bankr. N.D. Ill. 2005). “Any entity

asserting the validity of a transfer under § 549 of the Code shall have the burden of proof.” Fed.

R. Bankr. P. 6001. If a business is allowed to continue operating after filing for bankruptcy, it

may continue to obtain unsecured debt and enter transactions if the business does so in the

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course of ordinary operations. 11 U.S.C. § § 363(c)(1); 364(a).

        The Trustee claims the Debtor reimbursed payments made by Chris Gildea for the Debtor

without authorization and not in the ordinary course of business, and therefore, the transactions

ought to be avoided. Gildea argues the reimbursements were made in the ordinary course of

business.

        The bankruptcy code does not define “ordinary course of business,” but courts have

fashioned a test to determine whether a transaction was in the ordinary course of business. A

transaction is in the ordinary course of business only if it is “most likely” the case that 1) the

transaction does not expose “a hypothetical creditor to economic risks different from those

accepted when such creditor initially extended credit to the debtor,” and 2) the transaction at

issue is comparable to the types of transactions entered into by similar businesses.1 Matter of

Garofalo’s Finer Foods, Inc., 186 B.R. 414, 424 (N.D. Ill. 1995) (quoting In re Garofalo’s Finer

Foods, Inc., 164 B.R. 955, 962–63 (Bankr. N.D. Ill. 1994)). A creditor’s reasonable expectations

are “based in large part upon the debtor’s specific pre-petition business practices and norms and

the expectation that the debtor will conform to those practices and norms while operating as a

debtor-in-possession,” and therefore, a “fundamental characteristic of an ‘ordinary’ post-petition

business transaction is its similarity to a pre-petition business practice.” Id. at 425.

        Gildea argues the affidavit of Thomas Norris and the supporting documents show that

the reimbursements made to Chris Gildea conform to the Debtor’s pre-bankruptcy business

practices. The supporting documentation shows that Chris Gildea received $37,265.04 in

reimbursements during the three years prior to bankruptcy, and $34,057.84 in reimbursements

during the year and a half following bankruptcy. The total amount of reimbursements paid by the

Debtor in the first period was $145,477.25, and the total in the second period was $69,279.55.



        1
        No evidence was presented on transactions entered into by other similar businesses.

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The amount of reimbursements Gildea received after bankruptcy increased, while at the same

time, the overall amount of reimbursements stayed roughly the same. No explanation is offered

as to why the relative amount of reimbursements to Gildea would have increased.

       The Trustee presents the Debtor’s pre-bankruptcy-petition ledger as evidence that

Gildea’s reimbursements were not made in the ordinary course of business. The Trustee argues

that the pre-bankruptcy ledger shows no reimbursement in any amount to Chris Gildea pre-

bankruptcy. The Court has reviewed the pre-bankruptcy ledger and found several entries that

could be reimbursement payments to Chris Gildea. For example, one entry shows a debit of

$657.50 to Chris Gildea on January 17, 2001, (Pl. Ex. U (6 of 15) at 11, DE 83-6), and another

shows a debit of $258.00 to Chris Gildea on January 17, 2001, (Pl. Ex. U (15 of 15) at 17, DE

83-16). However, the Court cannot match any of the pre-bankruptcy ledger entries of payments

to Chris Gildea with the records of pre-bankruptcy reimbursements submitted by Norris.2 The

Court has been given no information on the record-keeping practices of the Debtor or any

explanation as to why Norris’s records would not match the pre-bankruptcy ledger. Without any

guidance as to how to interpret the parties’ submissions, and in light of the discrepancies

between Norris’s records and the ledger entries, the Court cannot accept Norris’s records as

established facts. The Defendant has the burden of proof on whether the reimbursements were

made in the ordinary course of business, and its evidence is called into doubt by the pre-

bankruptcy ledger. Based on the evidence before the Court, a reasonable jury could find that

Norris’s records are not accurate, and that there were no similar pre-bankruptcy reimbursements

to Chris Gildea, leading to the conclusion that Chris Gildea’s post-bankruptcy reimbursements

were not in the ordinary course of business.

       2
        The Court was able to match some of the ledger entries of Debtor payments to Norris’s
records. For example, both the pre-bankruptcy ledger and Norris’s records list as expenses
$781.79 to Anita Gildea on January 8, 2001, $76.86 to Greg Bulmahn on August 17, 2001, and
$52.00 to Milt Brown on April 10, 2001.

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         For these reasons, the Court finds that there is a material issue of fact as to whether the

 post-bankruptcy reimbursements to Chris Gildea were made in the ordinary course of business,

 and the question is for a jury to determine at trial.



 B.      Motion to Reconsider

         The Trustee asks the Court to reconsider its dismissal of Counts III, IV, and V. As argued

 by the Defendants, the reconsideration is pursuant to Rule 54(b), which states that until a final

 judgment is entered, an order that does not adjudicate all of the claims of all of the parties is

 “subject to revision at any time.” Fed. R. Civ. P. 54(b).

         “Motions for reconsideration serve a limited function: to correct manifest errors of law or

 fact or to present newly discovered evidence.” Caisse Nationale de Credit Agricole v. CBI

 Industries, Inc., 90 F.3d 1264, 1269 (7th Cir. 1996).

                  A party seeking to defeat a motion for summary judgment is required to “wheel
         out all its artillery to defeat it.” Belated factual or legal attacks are viewed with great
         suspicion, and intentionally withholding essential facts for later use on reconsideration is
         flatly prohibited. Reconsideration is not an appropriate forum for rehashing previously
         rejected arguments or arguing matters that could have been heard during the pendency of
         the previous motion.

 Id. at 1270 (quoting Employers Ins. of Wausau v. Bodi-Wachs Aviation Ins. Agency, 846 F. Supp.

 677, 685 (N.D. Ill. 1994)) (citations removed). However, “[a] motion for reconsideration

 performs a valuable function where the Court has patently misunderstood a party, or has made a

 decision outside the adversarial issues presented to the Court by the parties, or has made an error

 not of reasoning but of apprehension.” Bank of Waunakee v. Rochester Cheese Sales, Inc., 906

 F.2d 1185, 1191 (7th Cir. 1990). “The rule essentially enables a district court to correct its own

 errors, sparing the parties and the appellate courts the burden of unnecessary appellate

 proceedings.” Russell v. Delco Remy Div. Gen. Motors Corp., 51 F.3d 746, 749 (7th Cir. 1995).


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 1.     The Trustee’s Arguments to Reconsider Count III

        In arguing for reconsideration of the Court’s ruling on Count III, the Trustee presents a

 wholly new theory that was not anywhere argued in his brief opposing summary judgment. The

 Court understood the Trustee’s third Count to allege that the Debtor transferred $83,000 to G&G

 for the purpose of funding the Gildea Group’s purchase of the Debtor’s assets. Steven Gildea

 was the owner of G&G and of the Debtor, and the Trustee alleged that the money was eventually

 used by GT/E to help purchase GTA Acquisition.

         The Trustee’s Amended Complaint alleges that:

        The Debtor was not authorized to transfer $83,000 in cash to G&G because (1) it had not
        assumed or assigned its lease with G&G; (2) the payments were not permitted under the
        lease; (3) it allegedly owed G&G more than $500,000; and (4) G&G did not utilize such
        payments for any purpose which benefited GT Automation. . . . These transfers were
        made, instead, for the purpose of funding an undisclosed buyout of the Debtor’s assets.

 (Pl. Am. Compl. 24, DE 12.) In its Response Brief and statement of material facts, the Trustee

 referred to a single $83,000 transfer by the Debtor to G&G. (Pl. Resp. Br. 7–9, DE 75 (“[Steven

 Gildea] then offered several explanations for the unusual size of the $83,000 Transfer and why it

 was paid by the Debtor directly into his bank account.”); (“Steven Gildea’s account is also

 internally inconsistent, thereby shedding doubt on the actual purpose for the $83,000 Transfer

 and whether it was authorized.”); Pl. Statement Genuine Issues 6, DE 76 (“Steven Gildea

 testified that he ‘inadvertently’ deposited the $83,000 Transfer he received from the Debtor for

 G&G into his personal account in April 2003. He claimed this fund was subsequently paid to

 GTA in satisfaction of an account receivable.”)). The Court held that the Trustee failed to prove

 the existence of an $83,000 transfer from the Debtor to G&G, and that the only payments made

 by the Debtor to G&G were disclosed rental payments.

        These rental payments were never argued to be extraordinary expenses. Nowhere did the

 Trustee argue or imply that the Debtor overpaid its rent. The only reference the Trustee made to



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 the Debtor’s rental payments to G&G was a reference to Steven Gildea’s statement that the usual

 rent payable to G&G was $17,000. Instead, the Trustee focused on what happened to the $83,000

 after G&G transferred it. As the Court noted in its Opinion and Order of October 5, 2006, “All of

 the Plaintiff’s arguments and evidence relate to the propriety of transfers of G&G’s funds, not

 the Debtor’s funds.” (Op. & Order Oct. 5, 2006, at 17, DE 112.) The Court found no evidence

 had been presented calling into question the propriety of the Debtor’s rent payments to G&G.

        The Trustee argues that the Court erred because it failed to anticipate the “very simple”

 argument that the Trustee now makes for the first time in his motion to reconsider: that the lease

 requires rent payments in the amount sufficient to cover certain, specified costs; that G&G did

 not use $83,000 of the rental payments to cover those specified costs; that instead, Steven Gildea

 withdrew the $83,000 and used it to help fund the Gildea Group’s purchase of the Debtor’s

 assets from Arlington, and that this implies the Debtor overpaid its rental obligation. This

 overpayment is therefore not an ordinary business expense and may be avoided. What is left

 unsaid is why the Trustee’s brief never discussed the Debtor’s rental payments or claimed they

 were more than required by the lease. The Trustee failed to point to any evidence suggesting the

 rent was not an ordinary business expense.

        The Trustee suggests the Court failed to grasp his theory because it mistakenly stated that

 the Debtor leased space from G&G for $17,000 a month. The Court agrees that this statement

 was not an accurate statement of the facts. A more accurate statement would be that Steven

 Gildea stated the usual amount of rent was $17,000, and that the Debtor paid that amount of rent

 from October 2002 to January 2003 (though for the nine months before that, the Debtor paid on

 average about $13,000). The Trustee postulates that this mistake could have been caused by the

 fact that “the Trustee argued [the purposes of the lease] were not satisfied without expressly

 pinpointing the fact that the rental term was variable, not fixed.” (Pl. Br. 8, DE 115.) This is

 incorrect. The Trustee never argued that the purposes of the lease were not satisfied, or even

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 suggested that the terms of the lease were in any way relevant to his claim.

         Arguments raised for the first time in a motion to reconsider are waived if they could

 have been raised in responding to the original motion. Mungo v. Taylor, 355 F.3d 969, 978 (7th

 Cir. 2004). The Trustee makes no argument as to why his theory could not have been presented

 in his first brief. Perhaps the Trustee did intend to make that argument (it makes much more

 sense than what was argued) but his intent does not excuse the fact that the argument was

 completely absent. Where as here, a well-represented party presents a wholly new theory on a

 motion for reconsideration and makes no attempt to explain why the theory was not presented in

 its previous submissions, this Court is disinclined to reopen the matter. This is even more true

 when the record is voluminous and complicated, and the time necessary for the Court to

 familiarize itself with the record and respond to the arguments presented is substantial. The

 expectation is that counsel will raise the issues that are to be decided. Nat’l Fidelity Life Ins. Co.

 v. Karaganis, 811 F.2d 357, 360 (7th Cir. 1987) (“[A] trial judge may properly depend upon

 counsel to apprise him of the issues for decision. He is not obligated to conduct a search for

 other issues which may lurk in the pleadings.”(quoting Desert Palace v. Salisbury, 401 F.2d 320,

 324 (7th Cir. 1968)).



 2.     The Trustee’s Argument’s to Reconsider Count IV

        The Trustee has nothing new to say regarding Count IV, and the Court has nothing to add

 to its previous Opinion. The Court has held that under In re Met-L-Wood, 861 F.2d 1012 (7th

 Cir. 1988), the Trustee is barred from bringing state law claims arising out of a bankruptcy sale

 of assets, and sees no good reason to address the issue a third time. (See Opinion and Order of

 October 5, 2006, DE 115; Opinion and Order of October 17, 2005, DE 49.)



 3.     The Trustee’s Arguments to Reconsider Count V

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        Most of the Trustee’s argument is reserved for the Court’s dismissal of Count V. The

 Court summarizes his arguments as follows: first, the Court failed to take account of the entire

 context of the relationship between Arlington and the Gildea Group, especially the

 circumstances involving the Gildea Group’s spurning of financing from Comerica and the start

 of its negotiations with Arlington; second, the Court improperly relied on antitrust cases to

 formulate a higher standard for summary judgment than was required. Upon reconsideration, the

 Court finds that the evidence submitted shows there is a material issue of fact as to whether the

 Gildea Group stopped negotiating with Comerica and began negotiating with Arlington

 independently or as part of an agreement to collude. The Trustee has submitted sufficient

 evidence to make reasonable an inference that the Defendants agreed to control the price at

 auction.



 a.     Facts Relevant to Count V

        Steven Gildea hoped to retain ownership of the Debtor after declaring bankruptcy on

 October 9, 2001. To this end, Steven Gildea and a group associated with Steven Gildea,

 including his son Chris Gildea, submitted their Amended Plan Offer in July of 2002. The

 Amended Plan Offer would have involved Comerica financing a purchase of the Debtor’s assets

 for $3.45 million dollars. Comerica desired a competitive bidding process, and declined the

 offer. On December 19, 2002, the Gildea Group discussed with Mark Werling, an attorney for

 Comerica, the possibility of purchasing the Debtor’s assets. Comerica continued to insist on an

 auction.

        On February 12, 2003, the Debtor filed a motion seeking authorization of an auction of

 the Debtor’s assets pursuant to § 363(b) and (f). Included in the motion was an offer to buy the

 Debtor’s assets from G&G and an entity named GT Acquisition, which consisted of Chris Gildea

 and Anita Gildea, along with the Debtor’s employees Matt Mercer and Joseph Siela. The offer

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 was that G&G would purchase the Debtor’s real estate for $607,329.92, and the GT Acquisition

 would buy the rest of the Debtor’s assets for $600,000. The Gildea Group sought several loans to

 finance this proposed purchase. The evidence submitted indicates the Gildea Group had the

 possibility of obtaining a combined loan of about $1.4 million.

        In about the middle of February, counsel for Comerica contacted Arlington Capital and

 provided information about the Debtor. At this time, Arlington was the only party other than the

 Gildea Group that had expressed interest in purchasing the Debtor’s assets.

        Two managing members of Arlington met with Steven Gildea, Chris Gildea, and Michael

 Motter in late February 2003 to discuss a possible investment in the Debtor by Arlington.

        On February 25, 2003, Werling called an attorney associated with the Gildea Group to

 determine if they would pay $3.7 million for the Debtor’s assets. On February 27, 2003, Werling

 discussed with Chris Gildea Comerica’s proposal to finance an offer of $3.7 million. Chris

 Gildea stated that he was disappointed Comerica did not respond to him sooner and that the

 Gildea Group would not pay $3.7 million. Werling asked whether there was a lower number that

 the Gildea Group would offer, Gildea said no, but that he might follow up later after reviewing

 his calculations. On March 3, 2003, Comerica sent term sheets to a buyout group consisting of

 Gildea, Motter, and Mercer, regarding a proposed acquisition for about $3.7 million. Comerica

 never received a response from the Gildea Group. Chris Gildea later stated he was not interested

 in dealing with Comerica because he did not trust them to treat the company fairly.

        A hearing was held on the motion for a sale of the Debtor’s assets on March 5, 2003. The

 Committee of Unsecured Creditors objected to a sale, arguing that the Gildea Group was seeking

 a sale to defeat the interests of unsecured creditors. Also, a Comerica representative stated that it

 would block the Gildea Group from cheaply purchasing the Debtor’s assets at a sale. The

 Committee agreed not to object to an auction if it had the opportunity to object before the sale

 was approved.

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        On March 13, 2003, the bankruptcy court issued an order allowing an auction of the

 Debtor’s assets, subject to conditions agreed to by the Debtor and the objecting creditors. Bids

 were to be submitted by April 2, 2003, and were to be in the form of an agreement of a binding

 offer to purchase the Debtor’s assets. Bids were required to fully disclose the identity of the

 entities that would acquire a portion of the Debtor’s assets in connection with the bid.

        Around March 5, 2003, Arlington Capital began negotiating with Comerica over the

 price at which Comerica would consent to a sale of the Debtor’s assets. Negotiations continued

 throughout March. Arlington increased its initial offer from about $1.4 million to $2.7 million

 and on April 2, 2003, Comerica consented to a sale at that price.

        Arlington stated that it was interested in buying the Debtor as a going concern with its

 current management in place, which included members of the Gildea Group. Arlington

 negotiated with the Gildea group regarding their interest in owning a portion of a company

 succeeding the Debtor. On March 28, 2003, Arlington presented a proposal for a joint enterprise

 between Arlington and the Gildea group to bid on the Debtor’s assets. The draft agreement stated

 that it was an agreement “by and among Arlington Capital, LLC, an Indiana limited liability

 company (‘Arlington’), ____________, an Indiana limited liability company (‘________’), and

 GT Holdings, LLC, an Indiana limited liability company (‘GTH’).” (Def. Joint App. Ex. M,

 Nicholson Aff. Ex. 1, Buyout Agreement Draft 1, DE 70-35.) The blank spaces were to be filled

 by the Gildea Group, or an entity owned by the group. The draft agreement shows the parties

 contemplated submitting a joint bid through GTH: “Arlington and _____ are the only members

 of GTH,” and that “GTH will not submit a bid . . . until Arlington and ______ have reached

 agreement on certain fundamental issues regarding cash contributions, liability for financing,

 operation of the Business, and the terms and conditions under which _____ may purchase and

 Arlington will sell its interest in GTH.” (Id.) It is not clear whether GT Holdings was ever

 created, and the Court is not aware of any other record of the entity.

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        Comerica did not know that Arlington was discussing joint ownership with the Gildea

 Group. On March 28, 2003, Arlington sent a draft bid to Comerica listing GT Holdings as the

 buyer. Schedule 7.1 of the draft bid was entitled “Buyer’s Members.”(Werling Aff. ¶ 43–44, Ex.

 I, Asset Purchase Agreement, March 28, 2003, DE 82-10.) Draft bids were sent March 30 and

 31 with the same Schedule 7.1 listing. None of the bids actually included the schedules; only a

 list of contemplated schedules was attached.

        On April 1, 2003, Arlington formed GTA Acquisition LLC, and GTA Realty, LLC. On

 April 2, 2003, Arlington submitted a bid to purchase the Debtor’s assets for $2,725,000. The

 only other bid submitted was that of Comerica, which was less than Arlington’s bid. On April 7,

 2003, GTA Realty purchased G&G’s real estate.

        Arlington’s bid was submitted with a list of schedules. The list included reference to

 schedule 7.1. However, schedule 7.1 was not submitted with the bid. In previous proposed bids,

 it was stated that schedule 7.1 was the schedule stating who the interested parties were. Under

 the schedule 7.1 heading on the list of schedules, two entities were named: Arlington Capital,

 LLC, and GTA Investors, LLC.

        Around March 31, or April 1, 2003, David Campbell resigned from his tool room

 manager position with the Debtor. Matt Mercer scheduled a lunch meeting with Campbell on

 April 2, 2003, and introduced Campbell to Mike Motter. During the meeting, Mercer tried to

 persuade Campbell not to resign, stating that he and Motter would be actively involved in the

 company in the future. Two weeks later, Motter and Mercer were introduced as new owners of

 the company.

        At some point—the timing is unclear—GT/E was formed. GT/E was owned by Katherine

 Gildea, Mercer and Motter. On April 4, 2003, Mercer contributed funds to GT/E. Chris Gildea

 received the second transfer of the $83,000 he received as a loan from Steven Gildea on the same

 day.

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        On April 7, 2003, a hearing was held to approve the proposed sale of the Debtor’s assets

 to Arlington. Arlington did not disclose its negotiations with the Gildea group. On April 8, 2003,

 the bankruptcy court issued an order approving the sale. The sale order included findings that the

 bid was “negotiated, proposed, and executed without collusion, in good faith, as a result of arms’

 length negotiations.” (Def. Mot. Summary J. Count I, Ex. B, DE 68-5.) Also, the court found that

 the auction “was conducted without collusion, in good faith, and on the terms set forth in the

 Procedure Order,” that “[n]either the Debtor nor Buyer engaged in any conduct that would cause

 the sale of the Assets to be avoided under 11 U.S.C. § 363(n),” and that “the consideration to be

 paid for the Assets (i) is fair and reasonable; (ii) represents the highest and best offer for the

 Assets, and (iii) constitutes reasonably equivalent value and fair consideration under the

 Bankruptcy Code and under the laws of the United States, any state, territory, possession, or the

 District of Columbia.” (Id.) An amended sale order containing the same findings of fact was

 approved on April 16, 2003.

        From April 3 until at least April 7, negotiations between the Gildea Group and Arlington

 continued. Several drafts of agreements were exchanged. A buyout agreement was signed in a

 contract dated April 7, 2003. The Defendants claim the date was a mistake, and that the

 agreement was signed on April 10, 2003. The buyout agreement allowed GT/E to purchase GTA

 Acquisition from Arlington. The agreement stated that Steven Gildea, Motter, Mercer, and Chris

 Gildea, (the Management Group) would be employed by GTA Acquisition, and that the

 agreement was contingent on the execution of employment agreements with the Management

 Group. The agreement allowed GT/E to purchase GTA Acquisition by paying Arlington

 $517,000 plus Arlington’s cash contribution to GTA Acquisition. Arlington would also receive

 10% of GT Acquisition’s 2003 profits. GT/E also paid an extra $100,000 commission to

 Arlington.

        The Trustee relies on documents Chris Gildea submitted to the Huntington bank as

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 further explaining the relationship between Arlington and the Gildea group. In August 2003,

 Gildea sought financing to pay off GTA Acquisition’s liability to Arlington. According to

 Gildea’s submissions to the Huntington bank, GTA Acquisition, when still owned by Arlington,

 borrowed money from Arlington to purchase the Debtor’s assets. When GTA Acquisition was

 purchased by GT/E for $617,000, it still owed Arlington the $2.7 million borrowed to purchase

 the Debtor’s assets. GT/E sought financing to pay down its liability to Arlington. GT/E was able

 to secure a $600,000 loan from SkyBank to pay down GTA Acquisition’s liability to $2.1

 million. GT/E sought funding to pay down the rest of the note, which appears to have been

 secured by GTA’s real estate, but it did not obtain sufficient financing to do so. There is no

 evidence GT/E ever was able to pay more than its $617,000 initial payment and the $600,000

 from SkyBank to Arlington. Ultimately, Arlington sold its interest in the real estate to other

 investors for about $2.2 million.



 b.     The Trustee’s Argument’s to Reconsider Count V

        Section 363(n) allows a trustee to avoid a sale or collect damages “if the sale price was

 controlled by an agreement among potential bidders at such sale.” 11 U.S.C. § 363(n). The

 Trustee alleges that the Defendants entered into an agreement controlling the sale price of the

 Debtor’s assets and seeks damages. For the Trustee to prevail, “(1) there must be an agreement;

 (2) between potential bidders; (3) that controlled the price at bidding. Birdsell v. Fort McDowell

 Sand & Gravel (In Re Sanner), 218 B.R. 941, 944–45 (Bankr. D. Ariz. 1998). An agreement

 controls the sale price only where an intended objective of the agreement is to influence the sale

 price. Where potential bidders enter an agreement, and the agreement has as an unintended

 consequence an affect on the sale price, the agreement does not control the sale price within the

 meaning of § 363(n). In re New York Trap Rock Corp., 42 F.3d 747, 752 (2d Cir. 1994) (“The

 influence on the sale price must be an intended objective of the agreement, and not merely an

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 unintended consequence, for the agreement among potential bidders to come within the

 prohibition of § 363(n).”).

        In the Court’s Opinion and Order of October 5, 2006, the Court held that the Trustee did

 not submit sufficient evidence to make reasonable an inference that the Defendants entered an

 agreement with the intent to influence the auction price. In briefing the motion for summary

 judgment, the parties focused their arguments on the events directly leading up to the bid and

 immediately following the bid. Neither party addressed the Gildea Group’s reasons for walking

 away from Comerica’s financing with any detail. The Defendants noted in their reply that the

 “GT Defendants rejected Comerica’s offer before Arlington’s involvement” and cited to

 evidence submitted by the Trustee which appears to support the statement. (Werling Aff. 3–4,

 DE 82.) Werling did not describe in his affidavit any meeting between Arlington and the Gildea

 Group before March 7, 2003, over a week after Chris Gildea declined to continue negotiating

 with Comerica. The Trustee argued that the Gildea Group’s withdrawal from competitive

 bidding, decision not to accept Comerica financing, and negotiations with Arlington suggested

 concerted action. He also argued that the Gildea Group had financing available from Comerica,

 as evidenced by Comerica’s offer to finance a sale for $3.7 million and Werling’s question to

 Chris Gildea about whether the Gildea Group would submit a lower offer. The Trustee did not

 specifically point to any evidence suggesting that the Gildea Group’s decision to negotiate with

 Arlington was tied to the its decision to stop negotiating with Comerica.

        The Court held that the Trustee lacked sufficient evidence to allow a reasonable jury to

 infer from the evidence that the Defendants entered an agreement to control the auction price

 because there was no evidence the Defendants could have submitted a competitive bid due to

 their lack of financing. The Court’s opinion on this point is summarized by the following

 passage:

                The Plaintiff’s allegation that the Defendants agreed to collude to avoid bidding

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        against each other makes little sense in light of the Gildea group’s failure to obtain
        financing to make an independent bid. The Gildea group obtained financing of about $1.4
        million, which is what they offered in the initial sale motion, filed in February 2003. This
        is substantially less than the $2.75 million bid that Arlington submitted. Significantly,
        months after the contract was entered into, the Gildea group still could not obtain
        sufficient financing to pay off the $2.1 million remaining on the note to Arlington. GT/E
        paid $617,000 for the personal property of the Debtor and obtained another $600,000
        loan. This is also far less than the amount they would have needed to submit a
        competitive bid. Because the Gildea group could not offer a competitive bid, it is not
        reasonable to infer that Arlington and the Gildea group colluded to avoid bidding against
        each other.

 (Opinion and Order of Oct. 5, 2006, at 29, DE 112.) The Court did not address whether there was

 an issue of fact as to whether the Gildea Group independently turned down financing from

 Comerica. The Court accepted as true the Defendants’ argument that “GT Defendants rejected

 Comerica’s offer before Arlington’s involvement,” and the implication that the Defendants’

 decision to decline financing from Comerica was independent of an agreement with Arlington.

        The Trustee argues in his motion for reconsideration that he submitted sufficient

 evidence to create an issue of fact for trial as to why the Gildea Group terminated its negotiations

 with Comerica and began negotiating with Arlington to obtain an ownership interest in a

 company succeeding the Debtor. Upon reconsideration, the Court agrees.

        According to the affidavit of Michael Peters, a managing member of Arlington, he and

 another managing member of Arlington met with Steven Gildea, Chris Gildea, and Michael

 Motter in late February 2003, to discuss a possible investment in the Debtor by Arlington.

 (Peters Aff. 1, DE 70-34.) On February 27, 2003, Chris Gildea told Werling that he was

 disappointed in their offer to finance a Gildea Group bid and to accept such a bid at $3.7 million.

 He said he would not offer a lower number. Taking all inferences to favor the Trustee, the Gildea

 Group’s meeting with Arlington occurred before Chris Gildea’s statement to Comerica that they

 would not offer a lower number. These facts establish that the Gildea Group declined to continue

 negotiating with Comerica only after meeting with Arlington.


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        Because the Gildea Group cut off negotiations with Comerica only after meeting with

 Arlington, and because it had been persistently seeking financing from Comerica to purchase the

 Debtor’s assets, it is reasonable to infer that the decision to spurn Comerica financing and work

 with Arlington was due to something occurring at the meeting. The Trustee argues that the

 evidence in this case concerning the intent of the parties at that time and their subsequent actions

 suggest that what occurred at the meeting was an agreement to work together to control the price

 at auction. The Court agrees that this is a reasonable inference. As noted by the court in Trap

 Rock, such agreements are obviously not committed to writing. 42 F.3d at 753. The evidence

 submitted shows that the Gildea Group strongly wanted to purchase the Debtor’s assets.

 Throughout 2002 and into the first part of 2003, the Gildea Group negotiated with Comerica to

 buy the Debtor’s assets, with financing from Comerica. Comerica proposed a sale of the assets

 for $3.7 million. When Arlington became interested in purchasing the Debtor’s assets, the Gildea

 Group completely stopped negotiating with Comerica and began negotiating with Arlington.

 Those negotiations involved an ownership role for the Gildea Group. Ultimately, Arlington, by

 itself, submitted the highest bid at auction, and the Gildea Group did not submit a bid.

 Immediately following the auction, the Gildea Group purchased the assets from Arlington. A

 reasonable jury could infer from these facts that the Gildea Group and Arlington reached an

 agreement to work together rather than bid against each other.

        An agreement not to bid against each other would likely have as its intent a desire to

 influence the sale price at auction. Sanner, 218 B.R. at 947 (stating that an agreement by which

 one party will not bid at auction presents a question of fact for a jury as to whether the intent

 behind the agreement was to influence the price at auction). Such an agreement would have

 made economic sense to both parties. By working with Arlington, the Gildea Group neutralized a

 possible competing bidder and also could hide its interest in the bid. A sale to Arlington for a

 low price would be less likely to draw objections from creditors who had threatened to block a

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 sale to the Gildea Group because Arlington was perceived as being independent from the Gildea

 Group. An agreement entered with the purpose of concealing the Gildea Group’s interest in

 obtaining the Debtor’s assets also would likely have as its intent the desire to influence the sale

 price. Arlington would benefit from an agreement with the Gildea Group because its bargaining

 position with Comerica improved by being the only bidder. Also, it had a potential buyer for the

 assets in the Gildea Group, allowing for a quick sale after auction. Both parties could accomplish

 their purposes and obtain a lower bid price by agreeing to work together and to not submit

 independent bids. The events leading up to the sale do not give sufficient reason to doubt that

 this is actually what happened. Arlington’s dealings with the Gildea Group were never disclosed

 and the Gildea Group never came back to Comerica with a counteroffer.

        The Defendants argue that an agreement between the Gildea Group and Arlington would

 not make sense because if the Gildea Group had financing, it would have submitted its own bid

 for slightly over the $2.7 million that Arlington bid. This argument ignores the fact that such a

 bid would have likely provoked strong opposition from the unsecured creditors and from

 Comerica, both of whom had threatened to block the Gildea Group from purchasing the Debtor’s

 assets too cheaply. Also, the possibility raised by the Defendants—that the Gildea Group might

 submit an independent bid after Arlington had negotiated a price with Comerica—would be a

 good reason for Arlington to commit to an agreement with the Gildea Group to prevent

 competitive bidding. The Defendants state that before the date bids were due, the plan to submit

 a joint bid fell through. The fact that the Gildea Group did not go back to Comerica to obtain

 financing for an independent bid could be seen as evidence that there was an agreement between

 Arlington and the Gildea Group not to submit competing bids.

        The Defendants also argue that even if Arlington and the Gildea Group entered an

 agreement, it could not have controlled the price of the auction sale because Comerica’s

 agreement with Arlington to consent to a sale at $2.7 million controlled the price of the auction

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 at sale. This argument misses the point. An agreement controls the price at auction only if it is

 entered into with the purpose of influencing the sale price. Arlington and Comerica’s agreement

 set a floor for bidding. One could say that the price at auction was influenced by this agreement

 by eliminating the possibility of lower bids, but such an agreement, which makes higher bids

 more likely, is not objectionable under § 363(n). Also, the Defendants argue that “[b]y

 definition, there can be only one agreement that actually controlled the price at the Auction.”

 (Def. Br. 15, DE 118.) This is incorrect. In a given auction, there could be multiple agreements

 entered into by potential bidders with the intent to influence the sale price.

        Of course, the Gildea Group may have had legitimate reasons for declining Comerica

 financing, such as distrust from their past dealings as stated by Chris Gildea.3 Or perhaps there

 was no agreement between the Gildea Group and Arlington and the Gildea Group independently

 decided that their interests would be better protected by working with Arlington. If Arlington

 and the Gildea Group worked together without entering any agreement, the dealings between the

 Gildea Group and Arlington, including the anticipated joint bid, would be unobjectionable, as the

 Court noted in its previous opinion. Even if the Defendants were motivated to work together by

 their desire to obtain a lower bid price, but never entered any agreement between them to further

 that desire, they would not be liable. However, the fact that the Gildea Group declined financing

 from Comerica shortly after meeting with Arlington, the fact that the parties could both benefit

 by working together, the fact that they never disclosed the fact that they had been negotiating,

 the fact that the Gildea Group never reopened discussions with Comerica, and the fact thatf 27



        3
         The Trustee objects to this statement, arguing that it is inadmissible. However, the
 statement comes from a transcript of a hearing submitted by the Trustee, who was present and
 who stated in his affidavit that the transcript was accurate. (Boyer Aff. 6, DE 77; March 5, 2004,
 Tr. DE 77-19.) In any event, the evidence does not affect the Court’s ruling, as the Trustee has
 submitted sufficient evidence to create an issue of fact as to whether the decision to stop
 negotiating with Comerica was independent.

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 Arlington sold its interest in the assets to the Gildea Group shortly after the auction, make the

 inference that the Defendants agreed to work together with the intent of obtaining a lower bid

 price more likely.

        Finally, the Court’s erroneous assumption that the Gildea Group independently declined

 financing from Comerica justifies reconsidering and vacating its order granting summary

 judgment on Count V. The Trustee did not present a new theory, and his argument is not

 completely different in the motion for reconsideration as it was with regard to Count III. Here, he

 focuses on evidence that the Court overlooked when determining whether a reasonable jury

 could infer the existence of an agreement to influence the sale price. By reversing itself now, the

 Court spares the court of appeals and the parties the cost, inconvenience, and delay that would

 likely result from allowing the judgment to stand.

        As to the Trustee’s second argument—that the Court has applied the wrong standard for

 determining whether an inference of collusive conduct is reasonable by requiring the Trustee to

 establish facts making the inference of collusion more reasonable than an inference of

 independent action—the issue is moot because the Court agrees that the full context of the

 parties’ dealings makes the inference of collusion more reasonable, and so the issue should be

 submitted to a jury to determine. The Court notes only that the same logic that motivated the

 higher standard for anti-trust cases applies to the situation here. The rule prohibiting collusive

 conduct in bidding is intended to protect creditors by ensuring a competitive bidding situation,

 resulting in a higher price for assets. The Seventh Circuit has noted that the likeliness of

 litigation is a factor that negatively affects the willingness of bidders to offer high prices for

 debtor assets. Matter of Met-L-Wood Corp., 861 F.2d 1012, 1019 (7th Cir. 1988). As in anti-trust

 cases, mistaken inferences at the summary judgment stage in collusive bidding cases could be

 “especially costly, because they chill the very conduct the . . . laws are designed to protect.”

 Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 594 (1986).

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         In any event, the issue can be more fully addressed in a different case, because the issue

 has no further effect in this case. Having found the inference of a collusive agreement to be

 reasonable on the facts established by the Trustee, it is now for a jury to determine whether the

 Defendants entered an agreement with the intent to influence the sale price at auction.



 C.      Motion for Final Judgment under Rule 54(b)

         The Defendants filed a motion for a final judgment on claims III, IV, V, VI, VII, and VIII

 pursuant to Federal Rule of Civil Procedure 54(b). “The test for separate claims under the rule is

 whether the claim that is contended to be separate so overlaps the claim or claims that have been

 retained for trial that if the latter were to give rise to a separate appeal at the end of the case the

 court would have to go over the same ground that it had covered in the first appeal.” Lottie v. W.

 Am. Ins. Co., 408 F.3d 935, 939 (7th Cir. 2005). Because the Court has granted the Trustee’s

 motion to reconsider Count V, and the facts relevant to Count V are also relevant to Counts III

 through VIII, the motion for final judgment is denied.



 D.      Conclusion

         The difficulty with this case can perhaps be attributed to the early filing of the motion for

 summary judgment and the heavily circumstantial nature of the Trustee’s claim. No depositions

 were submitted as evidence. Rather, both parties submitted affidavits and supporting documents,

 much of it inadmissible, and neither party filed a motion pursuant to Federal Rule of Civil

 Procedure 56(f) to reopen discovery before ruling on the motion for summary judgment as to

 Claim V. In any event, there has been sufficient evidence submitted for a reasonable jury to find

 for the Trustee on Counts I, II, and V, and so, a jury trial is necessary on those counts.




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                                           ORDER

        For the reasons stated, Chris Gildea’s motion for summary judgment on Count II [DE 69]

 is DENIED. The Trustee’s motion to alter judgment with regard to Count V [DE 114] is

 GRANTED, and the Court’s October 5, 2006, Opinion and Order granting summary judgment

 on the Trustee’s Count V against Arlington Capital, GT/E, Chris Gildea, Katherine Gildea, Mike

 Motter, and Matt Mercer is VACATED. The Defendants’ motion for entry of judgment [DE 119]

 is DENIED.

        A telephone conference in this matter is SET for August 30, 2007, at 2:00 PM.

        SO ORDERED on August 24, 2007.


                                             /s/ Theresa L. Springmann
                                            THERESA L. SPRINGMANN
                                            UNITED STATES DISTRICT COURT




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